                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF WISCONSIN

CHRIS ARMES, individually and on behalf       )
of all others similarly situated,             )
                                              )
                          Plaintiff,          )                Case No. 08 C 244
                                              )
    v.                                        )                Judge Clevert
                                              )
SOGRO, INC. d/b/a Budget Host Diplomat Motel, )
                                              )
                          Defendant.          )

                 PLAINTIFF’S MOTION FOR A RULE 16 CONFERENCE

       Plaintiff Chris Armes, by his attorneys, The Consumer Advocacy Center, P.C. and

Markoff Law Firm, LLC, moves this Court to set this matter for a Rule 16 Conference. In

support of this motion, Plaintiff states as follows:

       1.       On March 29, 2010, this Court, while recognizing that “additional discovery must

be conducted,” denied, without prejudice, all pending motions, including Plaintiff’s Motion for

Class Certification as well as Defendant’s Motion to Modify the Scheduling Order to extend fact

discovery [DE 51].

       2.       On April 7, 2010, this Court stayed discovery pending the parties’ attempt to

settle this matter in front of Magistrate Judge Goodstein. [DE 54, 55].

       3.       The settlement conference did not result in a settlement.

       4.       On July 29, 2010, Plaintiff moved to reinstate [De 59] his Motion for Class

Certification [DE 30] and his Motion for Leave to File Oversized Brief [DE 48] related to

Plaintiff’s proposed reply supporting class certification.

       5.       Plaintiff’s Motion to Reinstate is still pending.




            Case 2:08-cv-00244-CNC Filed 10/01/10 Page 1 of 3 Document 61
       6.       Plaintiff now moves for a Rule 16 Conference, during which Plaintiff will request

the Court to lift the stay on discovery and reset the deadlines for fact discovery cut-off, expert

discovery cut off, amending pleadings and filing dispositive motions.

       WHEREFORE, Plaintiff requests that this Court set this matter for a Rule 16 conference

at its earliest convenience.

                                             CHRIS ARMES, Plaintiff

                                      By:    s/ Paul F. Markoff
                                             One of Plaintiff’s Attorneys

Lance A. Raphael (lance@caclawyers.com)
Stacy M. Bardo (stacy@caclawyers.com)
Allison A. Krumhorn (allison@caclawyers.com)
The Consumer Advocacy Center, P.C.
180 W. Washington St., Ste. 700
Chicago, IL 60602
Tel: 312.782.5808
Fax: 312.377.9930

Paul F. Markoff (paul@markofflawfirm.com)
Markoff Law Firm, LLC
180 W. Washington St., Ste. 700
Chicago, IL 60602
Tel: 312.726.4162
Fax: 312.277.2507




                                          2
            Case 2:08-cv-00244-CNC Filed 10/01/10 Page 2 of 3 Document 61
                               CERTIFICATE OF SERVICE

       I certify that I served a copy of this Plaintiff’s Motion for a Rule 16 Conference on the
following electronically by using the CM/ECF system on this 1st day October, 2010:


                                       James K Borcia
                                        David O. Yuen
                                         Tressler LLP
                                  233 S. Wacker Dr., 22nd Fl.
                                      Chicago, IL 60606


                                            s/ Paul F. Markoff




                                       3
         Case 2:08-cv-00244-CNC Filed 10/01/10 Page 3 of 3 Document 61
